Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 1 of 99 PageID.12512



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                  IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF HAWAII


     PATRICK FEINDT, JR., et al.,
                                                  Civil No. 22-cv-00397-LEK-KJM
                       Plaintiffs,
     vs.
                                                  DEFENDANT UNITED STATES
     UNITED STATES OF AMERICA,                    OF AMERICA’S ANSWER TO
                                                  THE FIFTH AMENDED
                       Defendant.                 COMPLAINT




           Defendant United States of America answers the allegations of the

     Fifth Amended Complaint, ECF No. 210, as follows:




                                          1
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 2 of 99 PageID.12513



           The introductory section of the Fifth Amended Complaint, see ECF

     No. 210 at i-5, contains a narrative summary of Plaintiffs’ claims that is not

     divided into numbered paragraphs and therefore does not comply with

     Federal Rule of Civil Procedure 10(b), as well as legal conclusions to which

     no answer is required. To the extent that an answer is required:

        • Regarding Footnote 1, the United States admits that the United States

           Department of the Navy (“Navy”) has received administrative claims

           related to the subject matter of this case from individuals who are not

           parties to this lawsuit.

        • Regarding Footnote 2, the United States admits that it has invoked

           sovereign immunity with respect to Plaintiffs’ claims for failure to

           warn.

        • The United States denies all remaining allegations in this section,

           except as set forth in its responses below to the numbered paragraphs

           of the Fifth Amended Complaint or as set forth in the Parties’ Second

           Joint Stipulation as to Plaintiffs’ Nuisance and Negligence Claims

           (“Joint Stipulation”). See ECF No. 200.




                                            2
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 3 of 99 PageID.12514



     1. The United States admits that Plaintiffs have invoked the Federal Tort

        Claims Act (“FTCA”) as the basis for their claims. The remaining

        allegations in Paragraph 1 are legal conclusions to which no answer is

        required. To the extent that an answer is required, the United States

        admits those allegations to the extent set forth in the Joint Stipulation but

        otherwise denies them.

     2. The United States lacks sufficient information to admit or deny the

        allegations in Paragraph 2 and therefore denies them.

     3. Admitted.

     4. The United States admits the allegations in Paragraph 4 to the extent set

        forth in the Joint Stipulation but otherwise denies them.

     5. The United States admits the allegations in Paragraph 5 to the extent set

        forth in the Joint Stipulation but otherwise denies them.

     6. Admitted.

     7. The United States admits that Red Hill historically stored various types

        of fuel, including Jet Propellant-5 (JP-5) and Jet Propellant-8 (JP-8).

        The United States further admits that JP-5 and JP-8 contain varying

        amounts of the chemicals listed in Paragraph 7. The United States

        further admits that, as a general matter, ingestion of the chemicals listed

        in Paragraph 7 can be harmful to human health, depending on numerous


                                           3
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 4 of 99 PageID.12515



        factors including dose, duration of exposure, and nature of exposure. To

        the extent that Paragraph 7 purports to quote or paraphrase statements

        made by the EPA, the United States lacks sufficient information to admit

        or deny the authenticity of those statements because Plaintiffs have not

        provided a citation, and the United States therefore denies the remaining

        allegations in Paragraph 7.

     8. Paragraph 8 consists of legal conclusions to which no answer is required.

        To the extent that an answer is required, the United States admits that the

        United States Environmental Protection Agency (“EPA”) has certain,

        specified responsibilities and authorities under the Safe Drinking Water

        Act (“SDWA”) and the Clean Water Act (“CWA”), among other federal

        environmental laws. The United States further admits that the EPA’s

        Region 9 is the division of the agency with responsibility for Hawai’i

        and, by extension, Red Hill.

     9. Admitted.

     10. The United States admits that Red Hill is located 100 feet above an

        aquifer that supplies drinking water to O’ahu residents. To the extent

        that Paragraph 10 purports to quote or paraphrase statements made by

        the EPA, the United States lacks sufficient information to admit or deny

        the authenticity of those statements because Plaintiffs have not provided


                                          4
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 5 of 99 PageID.12516



        a citation, and the United States therefore denies the remaining

        allegations in Paragraph 10.

     11. The United States admits that, on May 6, 2021, a federal employee at

        Red Hill failed to follow the required sequence for opening and closing

        fuel pipeline valves, as specified in the applicable operations orders,

        which led to the release of what the Navy then estimated to have been

        1,618 gallons of JP-5. See Final Report of RDML Christopher J.

        Cavanaugh (“Cavanaugh Report”) at 7-10. The United States further

        admits that, following a command investigation into the incident, the

        Navy concluded that the cause of the May 2021 release was “improper

        valve operations.” Cavanaugh Report at 53. The remaining allegations

        in Paragraph 11 are legal conclusions to which no answer is required.

        To the extent that an answer is required, the United States admits those

        allegations to the extent set forth in the Joint Stipulation but otherwise

        denies them.

     12. The United States admits that, after the May 2021 fuel release, the Navy

        reported that a majority of the spilled fuel had been recovered and that

        no fuel was released to the environment. See Cavanaugh Report at 15.

        The United States further admits that the Navy later revised its estimate

        of the amount of fuel spilled from approximately 1,600 gallons to


                                           5
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 6 of 99 PageID.12517



        approximately 19,000 gallons, reported by Captain Meyer during his

        hearing testimony in December 2022. See also Cavanaugh Report at 60.

     13. The United States admits that the Navy has concluded that the root

        cause of the May 2021 fuel release was a “disregard of proper valve

        sequencing dictated in the specific operations orders.” See October 2021

        Red Hill Bulk Fuel Storage Facility JP-5 Piping Mitigations Report

        (“Mitigations Report”) at 4. The United States denies the remaining

        allegations in Paragraph 13, except as set forth in the Joint Stipulation.

     14. The United States admits that Captains Gordie Meyer and Albert

        Hornyak made the statements quoted in Paragraph 14. The United

        States denies the remaining allegations in Paragraph 14 to the extent that

        they are inconsistent with full contents of the referenced interviews.

     15. The United States admits that the Mitigations Report advised the Navy

        to undertake certain corrective actions at Red Hill, which included

        “[i]mplement[ing] out-of-balance and low-pressure alarms,”

        “[i]nspect[ing] and maintain[ing] BFVs in adherence with UFC 3-460-

        03,” and ensuring that pipeline operators “follow operations orders”

        when conducting fuel transfers. Mitigations Report at iv. The United

        States denies the remaining allegations in Paragraph 15, except as set

        forth in the Joint Stipulation.


                                           6
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 7 of 99 PageID.12518



     16. The United States admits that tests of samples taken from the Red Hill

        Shaft on August 5, 2021 and August 26, 2021 detected levels of total

        petroleum hydrocarbons in the oil range (“TPH-o”) that exceeded the

        environmental action level (“EAL”) for TPH-o in drinking water, as set

        by the Hawai’i Department of Health (“DOH”). The United States

        denies the remaining allegations in Paragraph 16.

     17. The United States admits that the Navy reported the TPH-o exceedances

        described above to the DOH on September 30, 2021, after final validated

        data was received. The United States further admits that Felix Grange,

        appearing on behalf of the DOH at a December 2021 hearing, made the

        statements quoted in Paragraph 17. The United States denies the

        allegations in Paragraph 17 to the extent they are inconsistent with the

        full contents of Felix Grange’s hearing testimony. The United States

        lacks sufficient information to admit or deny the remaining allegations in

        Paragraph 17 and therefore denies them.

     18. The United States admits that, on November 20, 2021, a Navy employee

        operating a rover train inadvertently struck and cracked a drain valve

        connected to Red Hill’s fire-suppression system, resulting in the release

        of approximately 16,900 gallons of fuel that had remained in a retention

        line since the May 2021 release. See Cavanaugh Report at 24-25. The


                                          7
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 8 of 99 PageID.12519



         United States further admits that a portion of this fuel entered the Red

         Hill Shaft, one of three groundwater wells that supply the JBPHH public

         water system. The United States denies the remaining allegations in

         Paragraph 18.

     19. The United States admits that the Navy reported that there was no

         footage of the November 20, 2021 spill from closed-circuit television

         cameras inside Red Hill because those cameras were inoperable at the

         time. See Cavanaugh Report at 42. The United States denies that the

         Navy claimed that there were no video recordings whatsoever of the

         November 20, 2021 spill. The United States lacks sufficient information

         to admit or deny the authenticity of the referenced video and screenshot

         and therefore denies all remaining allegations in Paragraph 19.

     20. Admitted.

     21. The United States admits that the Cavanaugh Report contains the

         language quoted in Paragraph 21. The remaining allegations in

         Paragraph 21 are legal conclusions to which no answer is required. To

         the extent that an answer is required, the United States admits those

         allegations to the extent set forth in the Joint Stipulation but otherwise

         denies them. 1


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           The United States admits the allegations in Footnote 6.
                                               8
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 9 of 99 PageID.12520



     22. The United States admits that the Cavanaugh Report contains the

        language quoted in Paragraph 22, without any italicization. The

        remaining allegations in Paragraph 22 are legal conclusions to which no

        answer is required. To the extent that an answer is required, the United

        States admits those allegations to the extent set forth in the Joint

        Stipulation but otherwise denies them.

     23. The United States admits the allegations in Paragraph 23 to the extent set

        forth in the Joint Stipulation but otherwise denies them.

     24. The United States admits that sections of Red Hill’s fire-suppression

        system were constructed using PVC pipe and thus were not compliant

        with Unified Facilities Criteria 3-600-1. See Cavanaugh Report at 6, 24.

        The United States further admits that, following a command

        investigation into the incident, the Navy concluded that “the fact that a

        large portion of the AFFF retention line was constructed using PVC was

        a proximate cause of the November [2021] spill.” Final Report of

        RADM James P. Waters III (“Waters Report”) at 80.

     25. The United States admits that, on November 27, 2021, the Navy began

        to receive complaints from residents of JBPHH military housing about

        their tap water. The United States lacks sufficient information to admit




                                            9
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 10 of 99 PageID.12521



         or deny the remaining allegations in Paragraph 25 and therefore denies

         them.

     26. The United States admits that, on November 30, 2021 and afterward, the

         Navy held town halls to address the reports of a fuel odor in the JBPHH

         water supply. The United States denies the remaining allegations in

         Paragraph 26.

     27. The United States admits that the SDWA contains the language quoted

         in Paragraph 27. The remaining allegations in Paragraph 27 are legal

         conclusions to which no answer is required. To the extent that an

         answer is required, the United States denies those allegations.

     28. The United States admits that 40 C.F.R. § 141.201 contains the

         language quoted in Paragraph 28, without any italicization. The

         remaining allegations in Paragraph 28 are legal conclusions to which no

         answer is required. To the extent that an answer is required, the United

         States denies those allegations.

     29. The United States admits that 40 C.F.R. § 141.202(b) contains the

         language quoted in Paragraph 29, without any italicization. The

         remaining allegations in Paragraph 29 are legal conclusions to which no

         answer is required. To the extent that an answer is required, the United

         States denies those allegations.


                                            10
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 11 of 99 PageID.12522



     30. The United States admits that the EPA’s National Enforcement

         Investigations Center (NEIC) concluded, following an April 2022

         SDWA compliance investigation of the JBPHH public water system,

         that the Navy “did not issue a Tier 1 public notification to customers [of

         the JBPHH public water system] within 24 hours of confirming the Red

         Hill Shaft had been contaminated with JP-5 fuel.” NEIC Civil

         Investigation Report No. NEICVP1463E01 (“NEIC Report”) at 24. The

         United States denies the allegations in Paragraph 30 to the extent that

         they are inconsistent with the full contents of the NEIC Report.

     31. The United States admits that the NEIC Report contains the language

         quoted in Paragraph 31. The remaining allegations in Paragraph 31 are

         legal conclusions to which no answer is required. To the extent that an

         answer is required, the United States denies those allegations to the

         extent that they are inconsistent with the full contents of the NEIC

         Report.

     32. The United States admits that the NEIC Report contains the language

         quoted in Paragraph 32, without any italicization. The United States

         denies the remaining allegations in Paragraph 32 to the extent that they

         are inconsistent with the full contents of the NEIC Report.

     33. Admitted. See NEIC Report at 6.


                                           11
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 12 of 99 PageID.12523



     34. Admitted. See NEIC Report at 6.

     35. The United States admits that the DOH’s November 20, 2021 public

         advisory contained the language quoted in Paragraph 35. The United

         States denies the remaining allegations in Paragraph 35 to the extent that

         they are inconsistent with the full contents of the advisory.

     36. The United States admits that Captain Spitzer made the statements

         quoted in Paragraph 36. The United States denies the remaining

         allegations in Paragraph 36 to the extent that they are inconsistent with

         the full contents of the referenced public statements.

     37. The United States admits that, on November 30, 2021, the Navy issued a

         media release stating:

           “The primary water distribution mains associated with the housing
           areas affected by possible potable water contamination have been
           flushed twice and the third flush is ongoing. No petroleum or
           contaminants have been detected in testing at affected sites or at
           wells and tanks; however, there remains a concern that residual
           contamination may exist in some of the water lines based on
           continued reports from residents.

           To flush the individual lines to each residence, the Navy is asking
           residents in all military housing areas to run the water in their
           homes for about three to five minutes today to help move water
           through the system and possibly alleviate the odor.

           …

           The Navy is continuing to collect and test samples, inspect water
           distribution systems and other parts of the Navy’s water distribution


                                           12
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 13 of 99 PageID.12524



           system to identify and characterize the source of the odor in the
           water.”

     November 30, 2021 Media Release from Commander, Navy Region Hawaii.

     38. Paragraph 38 consists of legal conclusions to which no answer is

         required. To the extent that an answer is required, the United States

         admits those allegations to the extent set forth in the Joint Stipulation but

         otherwise denies them.

     39. The United States admits that Rear Admiral Converse made the

         statements quoted in Paragraph 39. The United States denies the

         remaining allegations in Paragraph 39 to the extent that they are

         inconsistent with the full contents of the referenced public statements.

     40. The United States admits that, on December 10, 2021, the DOH issued a

         media release stating:

          “Samples from the Navy’s Red Hill Shaft contained total petroleum
          hydrocarbons diesel range organics (TPH-d) 350 times the DOH
          Environmental Action Level (EAL) for drinking water. The Red Hill
          Shaft samples also tested positive for gasoline range organics more
          than 66 times the DOH EAL.

          The DOH samples were analyzed by Eurofins Laboratory in
          California. Eurofins found 140,000 parts per billion (ppb) of TPH-d.
          The DOH EAL for TPH-d is 400 ppb. Eurofins found total petroleum
          hydrocarbons gasoline range organics (TPH-g) at 20,000 ppb. The
          EAL for TPH-g is 300 ppb.”




                                            13
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 14 of 99 PageID.12525



     December 10, 2021 Newsroom Release from Hawai’i Department of Health.

     The United States denies the remaining allegations in Paragraph 40 to the

     extent that they are inconsistent with the full contents of the media release.

     41. The United States admits that Rear Admiral Converse made the

         statements quoted in the second sentence of Paragraph 41. The United

         States further admits that Admiral Paparo’s January 20, 2022

         endorsement of the Cavanaugh Report contains the language quoted in

         the third sentence of Paragraph 41. The United States denies the

         remaining allegations in Paragraph 41 to the extent that they are

         inconsistent with the full contents of the referenced public statements or

         Admiral Paparo’s endorsement of the Cavanaugh Report.

     42. Denied.

     43. The United States admits that the Red Hill Bulk Fuel Storage Facility

         Final Groundwater Protection Plan (“GPP”) contains the language

         quoted in Paragraph 43. The United States denies the remaining

         allegations in Paragraph 43 to the extent that they are inconsistent with

         the full contents of the GPP.

     44. The United States admits that the Naval Audit Service’s April 16, 2010

         audit report regarding Red Hill contains the language quoted in

         Paragraph 44. The United States denies the remaining allegations in


                                           14
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 15 of 99 PageID.12526



         Paragraph 44 to the extent that they are inconsistent with the full

         contents of that report.

     45. The United States admits that, on January 14, 2014, the Navy identified

         a release of approximately 27,000 gallons of JP-8 jet fuel from a tank at

         Red Hill that had been incorrectly repaired by a contractor. The United

         States further admits that samples taken from monitoring wells after that

         release indicated elevated levels of hydrocarbons in soil vapor and

         groundwater.

     46. The United States admits that, in May 2015, the Navy entered an

         Administrative Order on Consent (“AOC”) with the EPA and the DOH

         to “ensure that the groundwater resource in the vicinity of [Red Hill] is

         protected and to ensure that [Red Hill] is operated and maintained in an

         environmentally protective manner.” AOC at 2. The United States

         denies the remaining allegations in Paragraph 46 to the extent that they

         are inconsistent with the full contents of the AOC.

     47. The United States admits that the cited EPA document entitled “Red Hill

         Bulk Fuel Storage Facility – Frequently Asked Questions” contains the

         language quoted in Paragraph 47. The United States denies the

         remaining allegations in Paragraph 47 to the extent that they are

         inconsistent with the full contents of that document.


                                           15
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 16 of 99 PageID.12527



     48. Paragraph 48 consists of Plaintiffs’ paraphrase of certain conclusions

         contained in a November 12, 2018 report titled “Quantitative Risk and

         Vulnerability Assessment Phase 1 (Internal Events without Fire and

         Flooding),” prepared for the Navy by ABS Consulting. The United

         States denies the allegations in Paragraph 48 to the extent that they are

         inconsistent with the true contents of that report.

     49. The United States admits that the Navy suspended operations at Red

         Hill on November 27, 2021. The United States further admits that

         Captain Spitzer and Admiral Del Toro made the statements quoted in

         Paragraph 49. The United States denies the remaining allegations in

         Paragraph 49 to the extent that they are inconsistent with the full

         contents of the referenced public statements.

     50. The United States admits that, on December 14, 2021, Deputy Secretary

         of Defense Kathleen Hicks issued a public statement containing the

         language quoted in Paragraph 50. The United States denies the

         allegations in Paragraph 50 to the extent that they are inconsistent with

         the full contents of that statement.

     51. The United States admits that, on November 30, 2021, the Navy advised

         residents to run the water in their homes. See November 30, 2021 Media

         Release from Commander, Navy Region Hawaii. The United States


                                            16
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 17 of 99 PageID.12528



         further admits that the Agency for Toxic Substances and Disease

         Registry (“ATSDR”) has issued guidance stating that individuals can be

         exposed to fuel constituents by breathing air vapors. See ATSDR

         ToxFAQs for Fuel Oils. Paragraph 51 lacks sufficient detail for the

         United States to identify what Plaintiffs are referring to as “the military’s

         occupational protocol for exposure to benzene,” and the United States

         therefore denies all allegations pertaining to that purported protocol.

         The United States further denies that government personnel were

         negligent in flushing homes. The United States further denies that air

         testing showed the presence of “aerosolized jet fuels” in affected homes.

         The United States lacks information sufficient to admit or deny the

         remaining allegations in Paragraph 51 and therefore denies them.

     52. The United States admits that the Navy opened hydrants to flush the

         water lines and allowed the water to run into the streets. See Waters

         Report at 46. The United States further admits that the CWA contains

         the language quoted in Paragraph 52. The remaining allegations in

         Paragraph 52 are legal conclusions to which no answer is required. To

         the extent that an answer is required, the United States denies those

         allegations.




                                            17
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 18 of 99 PageID.12529



     53. The United States admits that the CWA contains the language quoted in

         Paragraph 53. The remaining allegations in Paragraph 53 are legal

         conclusions to which no answer is required. To the extent that an

         answer is required, the United States denies those allegations.

     54. The United States admits that residents of military housing took video

         footage of the Navy’s flushing efforts. The United States further admits

         that the DOH instructed the Navy to stop its flushing activities on the

         basis that the flushing did not comply with DOH flushing guidelines.

         See December 8, 2021 Letter from Kathleen S. Ho, Deputy Director for

         Environmental Health. The remaining allegations in Paragraph 54 are

         legal conclusions to which no answer is required. To the extent that an

         answer is required, the United States denies those allegations.

     55. The United States denies that the military’s Child Development Centers

         had children “use dangerous and contaminated water . . . long after the

         contamination began.” On November 29, 2021, all Child Development

         Centers stopped using tap water from the JBPHH public water system,

         except the Ford Island Child Development Center and the Wahiawa

         Child Development Center. Out of an abundance of caution, the Ford

         Island Child Development Center also stopped using tap water from the

         JBPHH public water system on December 9, 2021, although testing of


                                           18
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 19 of 99 PageID.12530



         samples previously had indicated that the tap water at that location was

         unaffected by JP-5 contamination. Paragraph 55 lacks sufficient detail

         for the United States to identify who purportedly made “repeated

         attempts” to verify replacement of porous plastic drink cups, and the

         United States therefore denies the allegations pertaining to such

         communications.

     56. The United States admits that the Army authorized evacuation and

         lodging expenses for impacted individuals on December 2, 2021. The

         United States further admits that the Navy authorized evacuation and

         lodging expenses for impacted individuals and December 3, 2021. The

         United States further admits that these authorizations covered

         approximately 3,200 families and lasted for multiple months. The

         United States lacks sufficient information to admit or deny the remaining

         allegations in Paragraph 56 and therefore denies them.

     57. The United States admits that neighborhoods on the JBPHH water line

         were divided into zones and addressed on a zone-by-zone basis. The

         United States further admits that, on February 14, 2022, drinking water

         from Zone I1 was cleared as safe by the Navy, the EPA, and the DOH.

         The United States further admits that the DOH lifted its public health

         advisory for each zone based on testing of at least 10% of homes (more


                                           19
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 20 of 99 PageID.12531



         than 900 homes in total) and 100% of schools / child development

         centers, as well as multiple other lines of evidence demonstrating that

         the water in all homes and buildings was safe to drink. See Water

         Contamination Response Frequently Asked Questions (“FAQs”),

         Hawai’i Department of Health. The United States further admits that the

         Navy, or its contractors, tested homes using standard and generally

         accepted analytical methods, which include specific holding times for

         samples, and that the Navy discarded the samples after laboratory

         analysis and in accordance with the applicable holding times. The

         United States denies the remaining allegations in Paragraph 57.

     58. The United States admits that the Navy’s flushing protocol did not

         include replacement of plastics, replacement of water heaters, or

         “scrubbing the air.” The United States denies the remaining allegations

         in Paragraph 58.

     59. The United States admits that military authorizations for evacuation and

         lodging expenses ended after drinking water in the potentially impacted

         zones was cleared as safe by the Navy, the EPA, and the DOH. The

         United States lacks sufficient information to admit or deny the remaining

         allegations in Paragraph 59 and therefore denies them.




                                           20
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 21 of 99 PageID.12532



     60. The United States admits that, after the November 2021 fuel release,

         some individuals presented to military medical facilities and sought

         treatment in connection with alleged exposure to jet fuel. The United

         States lacks sufficient information to admit or deny the remaining

         allegations in Paragraph 60 and therefore denies them.

     61. Denied.

     62. The United States admits that Department of Defense Manual (DoDM)

         6055.05 contains the language quoted in Paragraph 62. The United

         States denies the remaining allegations in Paragraph 62 to the extent that

         they are inconsistent with the full contents of that manual.

     63. The United States admits that, in accordance with guidance from the

         DOH, military medical providers did not perform blood or urine testing

         for petroleum because such testing was unlikely to provide any useful

         information about potential exposure. The United States lacks sufficient

         information to admit or deny Plaintiffs’ allegations as to what specific

         families were told about testing and therefore denies those allegations.

         The United States denies the remaining allegations in Paragraph 63.

     64. Denied.

     65. The United States denies that that military medical providers failed to

         screen for illnesses that have been “documented as related to exposure to


                                           21
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 22 of 99 PageID.12533



         water contaminated with jet fuel.” The United States further denies that

         research related to Camp Lejeune involved “similar circumstances.”

         The United States lacks sufficient information to admit or deny the

         remaining allegations in Paragraph 65 and therefore denies them.

     66. The United States admits that Rear Admiral Timothy Kott made the

         statement quoted in Paragraph 66. The United States denies the

         remaining allegations in Paragraph 66.

     67. The United States admits that, as an early screening measure, the Navy

         collected water samples from homes and tested the samples for total

         organic carbon. The United States further admits that the Navy posted

         the test results to its public online database. The United States denies

         the remaining allegations in Paragraph 67.

     68. The United States admits that the Navy discarded water samples after

         laboratory analysis and in accordance with the applicable holding times.

     69. Paragraph 69 contains no substantive allegations to which an answer is

         required. To the extent that an answer is required, the United States

         admits that Plaintiffs have removed the allegations formerly contained in

         Paragraph 69 of their Fourth Amended Complaint, consistent with the

         Parties’ Joint Stipulation as to the Fifth Amended Complaint, Its Impact




                                           22
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 23 of 99 PageID.12534



         on Pending Motion to Dismiss Briefing, and Clarification of the

         Bellwether Plaintiffs’ Damages Claims. See ECF No. 201.

     70. The United States admits that, on November 29, 2022, there was a

         release of approximately 1,100 gallons of Aqueous Film Firefighting

         Foam (“AFFF”) at Red Hill’s Adit 6, some of which entered the

         surrounding environment. See November 29, 2022 Media Release by

         Commander, Navy Region Hawai’i. The United States further admits

         that AFFF contains per- and polyfluoroalykyl substances (“PFAS”),

         which are a group of chemical compounds that be harmful to human

         health, depending on numerous factors including dose, duration of

         exposure, and nature of exposure. The United States further admits that

         the Navy decided not to publicly release video footage of the November

         29, 2022 AFFF release until doing so would no longer impact the course

         of the ongoing investigation by the U.S. Department of Defense. See

         December 9, 2022 Media Release by Commander, Navy Region

         Hawai’i.

     71. The United States admits that, on December 7, 2019, an AFFF release

         occurred at a support facility near Red Hill’s Adit 1 and flowed into the

         exterior area next to the facility. The United States further admits that

         the release was not reported to regulatory agencies at the time because


                                           23
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 24 of 99 PageID.12535



         the EPA had not yet classified AFFF as a hazardous substance and

         because the release was prior to any reporting requirement within the

         U.S. Department of Defense.

     72. The United States admits that 2-(2-methoxyethoxy)ethanol is a fuel

         system icing inhibitor that can be present in JP-5. The United States

         further admits that 2-(2-methoxyethoxy)ethanol can be harmful to

         human health, depending on numerous factors including depending on

         numerous factors including dose, duration of exposure, and nature of

         exposure. The United States lacks information sufficient to admit or

         deny Plaintiffs’ allegations concerning “[c]ontemporaneous tests,”

         including because Plaintiffs do not indicate when the tests were taken or

         by whom, and therefore denies those allegations. The United States

         denies the remaining allegations in Paragraph 72.

     73. The United States denies that the Navy has failed to disclose all

         contaminants potentially present in the November 2021 fuel release.

         The United States further denies that there is any reason to believe at this

         time that PFAS was among those contaminants.

     74. Denied.

     75. The United States admits that 33 U.S.C. § 1321 contains the language

         quoted in Paragraph 75. The United States denies the remaining


                                           24
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 25 of 99 PageID.12536



         allegations in Paragraph 75 to the extent that they are inconsistent with

         the full contents of the CWA, the SDWA, or their implementing

         regulations.

     76. Paragraph 76 consists of Plaintiffs’ characterizations of the SDWA, as

         well as legal conclusions to which no answer is required. To the extent

         that an answer is required, the United States denies the allegations in

         Paragraph 76 to the extent that they are inconsistent with the SDWA.

     77. Paragraph 77 consists of Plaintiffs’ characterizations of the National

         Primary Drinking Water Regulations, as well as legal conclusions to

         which no answer is required. To the extent that an answer is required,

         the United States denies the allegations in Paragraph 77 to the extent that

         they are inconsistent with those regulations.

     78. The United States admits that the Hawai’i statute cited in Paragraph 78

         contains the language quoted. The United States denies the remaining

         allegations in Paragraph 78 to the extent that they are inconsistent with

         that statute.

     79. Paragraph 79 consists of Plaintiffs’ characterizations of various Hawai’i

         water regulations, as well as legal conclusions to which no answer is

         required. To the extent that an answer is required, the United States




                                           25
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 26 of 99 PageID.12537



         denies the allegations in Paragraph 79 to the extent that they are

         inconsistent with those regulations.

     80. Paragraph 80 consists of Plaintiffs’ characterizations of various

         unidentified federal and state regulations and programs, as well as legal

         conclusions to which no answer is required. To the extent that an

         answer is required, the United States denies the allegations in Paragraph

         80 because it lacks sufficient information to discern which regulations

         and programs are being referenced.

     81. Paragraph 81 consists of legal conclusions to which no answer is

         required. To the extent that an answer is required, the United States

         denies those allegations.

     82. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 82 and therefore denies them.

     83. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 83 and therefore denies them.

     84. The United States admits that the cited survey report by the Centers for

         Disease Control (“CDC”) contains the language quoted in Paragraph 84.

         The United States denies the remaining allegations in Paragraph 84 to

         the extent that they are inconsistent with the full contents of that report.




                                            26
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 27 of 99 PageID.12538



     85. The United States admits that the cited CDC survey report contains the

         language quoted in Paragraph 85. The United States denies the

         remaining allegations in Paragraph 85 to the extent that they are

         inconsistent with the full contents of that report.

     86. Denied.

     87. The United States admits that the Feindt family lived in the Ford Island

         military housing community from April 2021 to April 2022. The United

         States lacks sufficient information to admit or deny the remaining

         allegations in Paragraph 87 and therefore denies them. 2 3

     88. The United States admits that, out of an abundance of caution, the Ford

         Island Child Development Center stopped using tap water from the

         JBPHH public water system on December 9, 2021, although testing of

         samples previously had indicated that the tap water at that location was

         unaffected by JP-5 contamination. The United States lacks sufficient



     2
             Footnote 7 consists of Plaintiffs’ characterization of the information contained in
     the attachments to their SF-95 forms, to which no answer is required. To the extent that
     an answer is required, the United States denies the allegations in Footnote 7.
     3
              Regarding Footnote 8, the United States admits that the legal doctrine established
     in Feres v. United States limits military personnel’s ability to pursue tort claims under the
     FTCA. The United States denies the remaining allegations in Footnote 8 on the basis
     that, since the filing of the Fifth Amended Complaint, Major Amanda Feindt has brought
     suit against the United States under the FTCA, alongside four other active-duty military
     servicemembers. See Whaley v. United States, Case No. 1:23-cv-457.


                                                  27
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 28 of 99 PageID.12539



         information to admit or deny the remaining allegations in Paragraph 88

         and therefore denies them.

     89. The United States denies the allegations in Paragraph 89 pertaining to

         the Feindt family’s medical histories to the extent that they are

         inconsistent with the contents of the confidential medical records

         produced in this litigation. The United States further denies that military

         medical providers failed to provide reasonable and appropriate care to

         the Feindt family. The United States lacks sufficient information to

         admit or deny the remaining allegations in Paragraph 89 and therefore

         denies them.

     90. The United States admits that, in December 2021, the Feindt family

         relocated to a hotel at government expense. The United States further

         admits that the Feindt family moved off-island in April 2022. The

         United States lacks sufficient information to admit or deny the remaining

         allegations in Paragraph 90 and therefore denies them.

     91. The United States denies the allegations in Paragraph 91 pertaining to

         Patrick Feindt, Jr.’s medical history to the extent that they are

         inconsistent with the contents of the confidential medical records

         produced in this litigation. The United States lacks sufficient




                                            28
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 29 of 99 PageID.12540



         information to admit or deny the remaining allegations in Paragraph 91

         and therefore denies them.

     92. The United States denies the allegations in Paragraph 92 pertaining to

         the Feindt children’s medical histories to the extent that they are

         inconsistent with the contents of the confidential medical records

         produced in this litigation. The United States lacks sufficient

         information to admit or deny the remaining allegations in Paragraph 91

         and therefore denies them.

     93. The United States denies that the events at issue in this case are

         comparable to those of individuals who were stationed at Camp Lejeune.

         The allegations in Paragraph 93 concerning fear being “reasonable” are

         legal conclusions to which no answer is required. To the extent that an

         answer is required, the United States denies those allegations. The

         United States lacks sufficient information to admit or deny the remaining

         allegations in Paragraph 93 and therefore denies them.

     94. The United States admits that the Freeman family lived in the Aliamanu

         Military Reservation military housing community from May 2021 to

         February 2022.




                                           29
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 30 of 99 PageID.12541



     95. Denied. 4

     96. The United States admits that Nastasia Freeman is currently prohibited

         from driving per doctor recommendation. The United States lacks

         sufficient information to admit or deny the remaining allegations in

         Paragraph 96 and therefore denies them.

     97. The United States denies the allegations in Paragraph 97 pertaining to

         Nastasia Freeman’s medical history to the extent that they are

         inconsistent with the contents of the confidential medical records

         produced in this litigation. The United States further denies that the

         military medical providers failed to provide reasonable and appropriate

         care to the Freeman family.

     98. The United States denies the allegations in Paragraph 98 pertaining to

         the Freeman family’s medical histories to the extent that they are

         inconsistent with the contents of the confidential medical records

         produced in this litigation. The United States further denies that the

         military medical providers failed to provide reasonable and appropriate

         care to the Freeman family.


     4
             Regarding Footnote 9, the United States admits that the cited judicial ruling
     contains the language quoted. To the extent that Footnote 9 contains allegations about
     the legal application of that language to this case, the United States denies those
     allegations. The United States lacks sufficient information to admit or deny the
     allegations in Footnote 9 pertaining to any purported exacerbation of Plaintiffs’
     preexisting injuries and therefore denies those allegations.
                                                30
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 31 of 99 PageID.12542



     99. The United States admits that, in December 2021, the Freeman family

         relocated to a hotel at government expense. The United States further

         admits that the Freeman family moved off-island in February 2022, after

         submitting requests for Early Return of Dependents and humanitarian

         reassignment, and that they purchased an $850,000 home in California.

         The United States denies the allegations in Paragraph 99 pertaining to

         Nastasia Freeman’s medical history to the extent that they are

         inconsistent with the contents of the confidential medical records

         produced in this litigation. The United States further denies that military

         medical providers failed to provide reasonable and appropriate care to

         Nastasia Freeman. The United States lacks sufficient information to

         admit or deny the remaining allegations in Paragraph 99 and therefore

         denies them.

     100. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 100 and therefore denies them.

     101. The United States denies the allegations in Paragraph 101 pertaining

         to the Freeman children’s medical histories to the extent that they are

         inconsistent with the contents of the confidential medical records

         produced in this litigation.




                                           31
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 32 of 99 PageID.12543



     102. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Nastasia Freeman. The

         United States lacks sufficient information to admit or deny the remaining

         allegations in Paragraph 102 and therefore denies them.

     103. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 103 and therefore denies them.

     104. The third sentence of Paragraph 104 consists of legal conclusions to

         which no answer is required. To the extent that an answer is required,

         the United States denies those allegations. The United States lacks

         sufficient information to admit or deny the remaining allegations in

         Paragraph 104 and therefore denies them.

     105. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 105 and therefore denies them.

     106. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 106 and therefore denies them.

     107. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 107 and therefore denies them.




                                          32
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 33 of 99 PageID.12544



     108. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 108 and therefore denies them.

     109. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 109 and therefore denies them.

     110. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 110 and therefore denies them.

     111. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 111 and therefore denies them.

     112. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 112 and therefore denies them.

     113. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 113 and therefore denies them.

     114. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 114 and therefore denies them.

     115. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 115 and therefore denies them.


                                          33
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 34 of 99 PageID.12545



     116. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 116 and therefore denies them.

     117. The United States admits that Kevin Aubart moved to the Doris Miller

         Park military housing community with his wife in September 2016, after

         retiring from the United States Air Force. The United States lacks

         sufficient information to admit or deny the remaining allegations in

         Paragraph 117 and therefore denies them.

     118. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 118 and therefore denies them.

     119. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 119 and therefore denies them.

     120. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 120 and therefore denies them.

     121. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 121 and therefore denies them.

     122. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 122 and therefore denies them.

     123. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 123 and therefore denies them.




                                          34
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 35 of 99 PageID.12546



     124. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 124 and therefore denies them.

     125. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 125 and therefore denies them.

     126. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 126 and therefore denies them.

     127. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 127 and therefore denies them.

     128. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 128 and therefore denies them.

     129. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 129 and therefore denies them.

     130. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States


                                          35
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 36 of 99 PageID.12547



         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 130 and therefore denies them.

     131. The United States admits that the Dietz family moved to the Earhart

         Village military housing community in February 2021. The United

         States denies the allegations in Paragraph 131 pertaining to B.D.’s

         medical history to the extent that they are inconsistent with the contents

         of the confidential medical records produced in this litigation. The

         United States lacks sufficient information to admit or deny the remaining

         allegations in Paragraph 131 and therefore denies them.

     132. The United States denies the allegations in Paragraph 132 pertaining

         to Richelle Dietz’s medical history to the extent that they are

         inconsistent with the contents of the confidential medical records

         produced in this litigation. The United States lacks sufficient

         information to admit or deny the remaining allegations in Paragraph 132

         and therefore denies them.

     133. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 133 and therefore denies them.

     134. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 134 and therefore denies them.




                                           36
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 37 of 99 PageID.12548



     135. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 135 and therefore denies them.

     136. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 136 and therefore denies them.

     137. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 137 and therefore denies them.

     138. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 138 and therefore denies them.

     139. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 139 and therefore denies them.

     140. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 140 and therefore denies them.

     141. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 141 and therefore denies them.

     142. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 142 and therefore denies them.

     143. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 143 and therefore denies them.

     144. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 144 and therefore denies them.


                                          37
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 38 of 99 PageID.12549



     145. The United States admits that Sheena Jessup and her children lived in

         the Radford Terrace military housing community from July 2017 to

         May 2022. The United States further admits that D.J. was born in

         January 2021.

     146. The United States denies the allegations in Paragraph 146 pertaining

         to Sheena Jessup’s medical history to the extent that they are

         inconsistent with the contents of the confidential medical records

         produced in this litigation. The United States lacks sufficient

         information to admit or deny the remaining allegations in Paragraph 146

         and therefore denies them.

     147. The United States admits that Brian Jessup remained in Hawai’i until

         October 2022 to complete his term of employment with the Navy. The

         United States denies the allegations in Paragraph 147 pertaining to the

         Jessup family’s medical histories to the extent that they are inconsistent

         with the contents of the confidential medical records produced in this

         litigation. The United States further denies that military medical

         providers failed to provide reasonable and appropriate care to the Jessup

         family. The United States lacks sufficient information to admit or deny

         the remaining allegations in Paragraph 147 and therefore denies them.




                                           38
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 39 of 99 PageID.12550



     148. The United States denies the allegations in Paragraph 148 pertaining

         to B.B.J.’s medical history to the extent that they are inconsistent with

         the contents of the confidential medical records produced in this

         litigation. The United States further denies that military medical

         providers failed to provide reasonable and appropriate care to B.B.J.

     149. The United States denies the allegations in Paragraph 149 pertaining

         to B.J.J.’s medical history to the extent that they are inconsistent with the

         contents of the confidential medical records produced in this litigation.

         The United States further denies that military medical providers failed to

         provide reasonable and appropriate care to B.J.J.

     150. The United States denies the allegations in Paragraph 150 pertaining

         to N.J.’s medical history to the extent that they are inconsistent with the

         contents of the confidential medical records produced in this litigation.

         The United States further denies that military medical providers failed to

         provide reasonable and appropriate care to N.J.

     151. The United States denies the allegations in Paragraph 151 pertaining

         to D.J.’s medical history to the extent that they are inconsistent with the

         contents of the confidential medical records produced in this litigation.

         The United States further denies that military medical providers failed to

         provide reasonable and appropriate care to D.J.


                                            39
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 40 of 99 PageID.12551



     152. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 152 and therefore denies them.

     153. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 153 and therefore denies them.

     154. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 154 and therefore denies them.

     155. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 155 and therefore denies them.

     156. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 156 and therefore denies them.

     157. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 157 and therefore denies them.

     158. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 158 and therefore denies them.

     159. The United States lacks sufficient information to admit or deny the

         remaining allegations in Paragraph 159 and therefore denies them.

     160. The United States lacks sufficient information to admit or deny the

         remaining allegations in Paragraph 160 and therefore denies them.

     161. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 161 and therefore denies them.


                                          40
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 41 of 99 PageID.12552



     162. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 162 and therefore denies them.

     163. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 163 and therefore denies them.

     164. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 164 and therefore denies them.

     165. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 165 and therefore denies them.

     166. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 166 and therefore denies them.

     167. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 167 and therefore denies them.

     168. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 168 and therefore denies them.


                                          41
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 42 of 99 PageID.12553



     169. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 169 and therefore denies them.

     170. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 170 and therefore denies them.

     171. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 171 and therefore denies them.

     172. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 172 and therefore denies them.

     173. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 173 and therefore denies them.

     174. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 174 and therefore denies them.

     175. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 175 and therefore denies them.

     176. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 176 and therefore denies them.

     177. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 177 and therefore denies them.


                                          42
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 43 of 99 PageID.12554



     178. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 178 and therefore denies them.

     179. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 179 and therefore denies them.

     180. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 180 and therefore denies them.

     181. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 181 and therefore denies them.

     182. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 182 and therefore denies them.

     183. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 183 and therefore denies them.

     184. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 184 and therefore denies them.

     185. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 185 and therefore denies them.

     186. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 186 and therefore denies them.

     187. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 187 and therefore denies them.


                                          43
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 44 of 99 PageID.12555



     188. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 188 and therefore denies them.

     189. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 189 and therefore denies them.

     190. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 190 and therefore denies them.

     191. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 191 and therefore denies them.

     192. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 192 and therefore denies them.

     193. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 193 and therefore denies them.

     194. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 194 and therefore denies them.

     195. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 195 and therefore denies them.


                                          44
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 45 of 99 PageID.12556



     196. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 196 and therefore denies them.

     197. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 197 and therefore denies them.

     198. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 198 and therefore denies them.

     199. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 199 and therefore denies them.

     200. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 200 and therefore denies them.

     201. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 201 and therefore denies them.

     202. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 202 and therefore denies them.

     203. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 203 and therefore denies them.

     204. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 204 and therefore denies them.

     205. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 205 and therefore denies them.


                                          45
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 46 of 99 PageID.12557



     206. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 206 and therefore denies them.

     207. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 207 and therefore denies them.

     208. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 208 and therefore denies them.

     209. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 209 and therefore denies them.

     210. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 210 and therefore denies them.

     211. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 211 and therefore denies them.

     212. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 212 and therefore denies them.

     213. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 213 and therefore denies them.

     214. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 214 and therefore denies them.

     215. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 215 and therefore denies them.


                                          46
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 47 of 99 PageID.12558



     216. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 216 and therefore denies them.

     217. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 217 and therefore denies them.

     218. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 218 and therefore denies them.

     219. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 219 and therefore denies them.

     220. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 220 and therefore denies them.

     221. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 221 and therefore denies them.

     222. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States


                                          47
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 48 of 99 PageID.12559



         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 222 and therefore denies them.

     223. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 223 and therefore denies them.

     224. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 224 and therefore denies them.

     225. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 225 and therefore denies them.

     226. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 226 and therefore denies them.

     227. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 227 and therefore denies them.

     228. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 228 and therefore denies them.

     229. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 229 and therefore denies them.

     230. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States


                                          48
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 49 of 99 PageID.12560



         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 230 and therefore denies them.

     231. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 231 and therefore denies them.

     232. The United States admits that Elizabeth Witt and her husband moved

         to the Officer Field military housing community in August 2021. The

         United States lacks sufficient information to admit or deny the remaining

         allegations in Paragraph 232 and therefore denies them.

     233. The United States denies the allegations in Paragraph 233 pertaining

         to Elizabeth Witt’s medical history to the extent that they are

         inconsistent with the contents of the confidential medical records

         produced in this litigation. The United States lacks sufficient

         information to admit or deny the remaining allegations in Paragraph 233

         and therefore denies them.

     234. The United States admits that, in December 2021, Elizabeth Witt and

         her spouse received authorization to relocate to a hotel at government

         expense but chose not to do so. The United States lacks sufficient

         information to admit or deny the remaining allegations in Paragraph 234

         and therefore denies them.




                                           49
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 50 of 99 PageID.12561



     235. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 235 and therefore denies them.

     236. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 236 and therefore denies them.

     237. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 237 and therefore denies them.

     238. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 238 and therefore denies them.

     239. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 239 and therefore denies them.

     240. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 240 and therefore denies them.

     241. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 241 and therefore denies them.

     242. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 242 and therefore denies them.

     243. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 243 and therefore denies them.

     244. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States


                                          50
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 51 of 99 PageID.12562



         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 244 and therefore denies them.

     245. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 245 and therefore denies them.

     246. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 246 and therefore denies them.

     247. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 247 and therefore denies them.

     248. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 248 and therefore denies them.

     249. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 249 and therefore denies them.

     250. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 250 and therefore denies them.

     251. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 251 and therefore denies them.

     252. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 252 and therefore denies them.

     253. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 253 and therefore denies them.


                                          51
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 52 of 99 PageID.12563



     254. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 254 and therefore denies them.

     255. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 255 and therefore denies them.

     256. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 256 and therefore denies them.

     257. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 257 and therefore denies them.

     258. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 258 and therefore denies them.

     259. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 259 and therefore denies them.

     260. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 260 and therefore denies them.

     261. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 261 and therefore denies them.

     262. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 262 and therefore denies them.


                                          52
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 53 of 99 PageID.12564



     263. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 263 and therefore denies them.

     264. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 264 and therefore denies them.

     265. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 265 and therefore denies them.

     266. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 266 and therefore denies them.

     267. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 267 and therefore denies them.

     268. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 268 and therefore denies them.

     269. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 269 and therefore denies them.

     270. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 270 and therefore denies them.

     271. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 271 and therefore denies them.


                                          53
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 54 of 99 PageID.12565



     272. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 272 and therefore denies them.

     273. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 273 and therefore denies them.

     274. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 274 and therefore denies them.

     275. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 275 and therefore denies them.

     276. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 276 and therefore denies them.

     277. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 277 and therefore denies them.

     278. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 278 and therefore denies them.

     279. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 279 and therefore denies them.


                                          54
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 55 of 99 PageID.12566



     280. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 280 and therefore denies them.

     281. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 281 and therefore denies them.

     282. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 282 and therefore denies them.

     283. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 283 and therefore denies them.

     284. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 284 and therefore denies them.

     285. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 285 and therefore denies them.

     286. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 286 and therefore denies them.

     287. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 287 and therefore denies them.

     288. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 288 and therefore denies them.


                                          55
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 56 of 99 PageID.12567



     289. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 289 and therefore denies them.

     290. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 290 and therefore denies them.

     291. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 291 and therefore denies them.

     292. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 292 and therefore denies them.

     293. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 293 and therefore denies them.

     294. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 294 and therefore denies them.

     295. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 295 and therefore denies them.

     296. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 296 and therefore denies them.

     297. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 297 and therefore denies them.


                                          56
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 57 of 99 PageID.12568



     298. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 298 and therefore denies them.

     299. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 299 and therefore denies them.

     300. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 300 and therefore denies them.

     301. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 301 and therefore denies them.

     302. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 302 and therefore denies them.

     303. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 303 and therefore denies them.

     304. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 304 and therefore denies them.

     305. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 305 and therefore denies them.

     306. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 306 and therefore denies them.


                                          57
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 58 of 99 PageID.12569



     307. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 307 and therefore denies them.

     308. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 308 and therefore denies them.

     309. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 309 and therefore denies them.

     310. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 310 and therefore denies them.

     311. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 311 and therefore denies them.

     312. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 312 and therefore denies them.

     313. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 313 and therefore denies them.

     314. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 314 and therefore denies them.


                                          58
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 59 of 99 PageID.12570



     315. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 315 and therefore denies them.

     316. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 316 and therefore denies them.

     317. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 317 and therefore denies them.

     318. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 318 and therefore denies them.

     319. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 319 and therefore denies them.

     320. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 320 and therefore denies them.

     321. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 321 and therefore denies them.

     322. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 322 and therefore denies them.

     323. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 323 and therefore denies them.


                                          59
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 60 of 99 PageID.12571



     324. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 324 and therefore denies them.

     325. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 325 and therefore denies them.

     326. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 326 and therefore denies them.

     327. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 327 and therefore denies them.

     328. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 328 and therefore denies them.

     329. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 329 and therefore denies them.

     330. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 330 and therefore denies them.

     331. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 331 and therefore denies them.

     332. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 332 and therefore denies them.


                                          60
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 61 of 99 PageID.12572



     333. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 333 and therefore denies them.

     334. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 334 and therefore denies them.

     335. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 335 and therefore denies them.

     336. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 336 and therefore denies them.

     337. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 337 and therefore denies them.

     338. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 338 and therefore denies them.

     339. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 339 and therefore denies them.

     340. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 340 and therefore denies them.

     341. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 341 and therefore denies them.


                                          61
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 62 of 99 PageID.12573



     342. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 342 and therefore denies them.

     343. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 343 and therefore denies them.

     344. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 344 and therefore denies them.

     345. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 345 and therefore denies them.

     346. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 346 and therefore denies them.

     347. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 347 and therefore denies them.

     348. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 348 and therefore denies them.

     349. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 349 and therefore denies them.


                                          62
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 63 of 99 PageID.12574



     350. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 350 and therefore denies them.

     351. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 351 and therefore denies them.

     352. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 352 and therefore denies them.

     353. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 353 and therefore denies them.

     354. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 354 and therefore denies them.

     355. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 355 and therefore denies them.

     356. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 356 and therefore denies them.

     357. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 357 and therefore denies them.

     358. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 358 and therefore denies them.

     359. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 359 and therefore denies them.


                                          63
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 64 of 99 PageID.12575



     360. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 360 and therefore denies them.

     361. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 361 and therefore denies them.

     362. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 362 and therefore denies them.

     363. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 363 and therefore denies them.

     364. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 364 and therefore denies them.

     365. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 365 and therefore denies them.

     366. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 366 and therefore denies them.

     367. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 367 and therefore denies them.


                                          64
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 65 of 99 PageID.12576



     368. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 368 and therefore denies them.

     369. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 369 and therefore denies them.

     370. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 370 and therefore denies them.

     371. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 371 and therefore denies them.

     372. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 372 and therefore denies them.

     373. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 373 and therefore denies them.

     374. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 374 and therefore denies them.

     375. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 375 and therefore denies them.


                                          65
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 66 of 99 PageID.12577



     376. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 376 and therefore denies them.

     377. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 377 and therefore denies them.

     378. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 378 and therefore denies them.

     379. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 379 and therefore denies them.

     380. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 380 and therefore denies them.

     381. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 381 and therefore denies them.

     382. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 382 and therefore denies them.

     383. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 383 and therefore denies them.

     384. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States


                                          66
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 67 of 99 PageID.12578



         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 384 and therefore denies them.

     385. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 385 and therefore denies them.

     386. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 386 and therefore denies them.

     387. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 387 and therefore denies them.

     388. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 388 and therefore denies them.

     389. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 389 and therefore denies them.

     390. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 390 and therefore denies them.

     391. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 391 and therefore denies them.

     392. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 392 and therefore denies them.


                                          67
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 68 of 99 PageID.12579



     393. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 393 and therefore denies them.

     394. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 394 and therefore denies them.

     395. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 395 and therefore denies them.

     396. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 396 and therefore denies them.

     397. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 397 and therefore denies them.

     398. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 398 and therefore denies them.

     399. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 399 and therefore denies them.

     400. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 400 and therefore denies them.


                                          68
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 69 of 99 PageID.12580



     401. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 401 and therefore denies them.

     402. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 402 and therefore denies them.

     403. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 403 and therefore denies them.

     404. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 404 and therefore denies them.

     405. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 405 and therefore denies them.

     406. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 406 and therefore denies them.

     407. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 407 and therefore denies them.

     408. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 408 and therefore denies them.

     409. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States


                                          69
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 70 of 99 PageID.12581



         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 409 and therefore denies them.

     410. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 410 and therefore denies them.

     411. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 411 and therefore denies them.

     412. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 412 and therefore denies them.

     413. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 413 and therefore denies them.

     414. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 414 and therefore denies them.

     415. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 415 and therefore denies them.

     416. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 416 and therefore denies them.

     417. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 417 and therefore denies them.


                                          70
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 71 of 99 PageID.12582



     418. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 418 and therefore denies them.

     419. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 419 and therefore denies them.

     420. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 420 and therefore denies them.

     421. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 421 and therefore denies them.

     422. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 422 and therefore denies them.

     423. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 423 and therefore denies them.

     424. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 424 and therefore denies them.

     425. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 425 and therefore denies them.


                                          71
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 72 of 99 PageID.12583



     426. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 426 and therefore denies them.

     427. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 427 and therefore denies them.

     428. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 428 and therefore denies them.

     429. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 429 and therefore denies them.

     430. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 430 and therefore denies them.

     431. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 431 and therefore denies them.

     432. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 432 and therefore denies them.

     433. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 433 and therefore denies them.

     434. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 434 and therefore denies them.


                                          72
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 73 of 99 PageID.12584



     435. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 435 and therefore denies them.

     436. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 436 and therefore denies them.

     437. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 437 and therefore denies them.

     438. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 438 and therefore denies them.

     439. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 439 and therefore denies them.

     440. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 440 and therefore denies them.

     441. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 441 and therefore denies them.

     442. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 442 and therefore denies them.

     443. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 443 and therefore denies them.


                                          73
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 74 of 99 PageID.12585



     444. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 444 and therefore denies them.

     445. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 445 and therefore denies them.

     446. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 446 and therefore denies them.

     447. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 447 and therefore denies them.

     448. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 448 and therefore denies them.

     449. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 449 and therefore denies them.

     450. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 450 and therefore denies them.

     451. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 451 and therefore denies them.

     452. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 452 and therefore denies them.


                                          74
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 75 of 99 PageID.12586



     453. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 453 and therefore denies them.

     454. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 454 and therefore denies them.

     455. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 455 and therefore denies them.

     456. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 456 and therefore denies them.

     457. The United States denies that military medical providers failed to

         provide reasonable and appropriate care to Plaintiffs. The United States

         lacks sufficient information to admit or deny the remaining allegations in

         Paragraph 457 and therefore denies them.

     458. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 458 and therefore denies them.

     459. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 459 and therefore denies them.

     460. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 460 and therefore denies them.


                                          75
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 76 of 99 PageID.12587



     461. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 461 and therefore denies them.

     462. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 462 and therefore denies them.

     463. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 463 and therefore denies them.

     464. Paragraph 464 merely incorporates all preceding paragraphs of the

         Fifth Amended Complaint and contains no additional allegations to

         which an answer is required. To the extent that an answer is required,

         the United States incorporates all of its responses to the preceding

         paragraphs of the Fifth Amended Complaint.

     465. Admitted.

     466. Admitted.

     467. The United States denies that federal officers breached the duty to

         exercise reasonable care, except as set forth in the Joint Stipulation or as

         specifically admitted below in response to the subparts of Paragraph 467.

         The United States responds to the subparts of Paragraph 467 as follows:

           a. Admitted.




                                            76
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 77 of 99 PageID.12588



           b. The United States denies the allegations in subpart (b) of

               Paragraph 467 because it lacks sufficient information to discern

               which “mandatory corrective actions” are being referenced.

           c. The United States admits that the Navy did not issue a SDWA

               Tier I notice after the fuel release in November 2021. The United

               States otherwise denies the allegations in subpart (c) of

               Paragraph 467.

           d. Admitted.

           e. Denied.

           f. Admitted.

           g. Denied.

           h. Denied.

           i. Denied.

           j. Denied.

           k. Denied.

     468. Admitted.

     469. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 469 pertaining to the nature and extent of

         Plaintiffs’ purported injuries and therefore denies those allegations.




                                           77
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 78 of 99 PageID.12589



     470. Paragraph 470 consists of legal conclusions to which no answer is

         required. To the extent that an answer is required, the United States

         denies those allegations.

     471. Paragraph 471 consists of legal conclusions to which no answer is

         required. To the extent that an answer is required, the United States

         denies those allegations.

     472. Paragraph 472 merely incorporates all preceding paragraphs of the

         Fifth Amended Complaint and contains no additional allegations to

         which an answer is required. To the extent that an answer is required,

         the United States incorporates all of its responses to the preceding

         paragraphs of the Fifth Amended Complaint.

     473. The United States admits that the cited judicial ruling contains the

         language quoted in Paragraph 473. To the extent that Paragraph 473

         contains allegations about the legal application of that language to this

         case, the United States denies those allegations.

     474. The United States admits that the cited judicial ruling contains the

         language quoted in Paragraph 474. To the extent that Paragraph 474

         contains allegations about the legal application of that language to this

         case, the United States denies those allegations.




                                           78
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 79 of 99 PageID.12590



     475. Paragraph 475 consists of legal conclusions to which no answer is

         required. To the extent that an answer is required, the United States

         admits that the Navy had a duty to exercise reasonable care in operating

         the JBPHH public water system.

     476. The United States admits that the cited judicial ruling contains the

         language quoted in Paragraph 476. To the extent that Paragraph 476

         contains allegations concerning the legal application of that language to

         this case, the United States denies those allegations.

     477. The United States denies that the authorities cited in Paragraph 477

         are relevant or sufficient bases for Plaintiffs’ negligent-undertaking

         claim.

     478. The United States denies that the authorities cited in Paragraph 478

         are relevant or sufficient bases for Plaintiffs’ negligent-undertaking

         claim.

     479. Paragraph 479 consists of legal conclusions to which no answer is

         required. To the extent that an answer is required, the United States

         denies those allegations.

     480. Paragraph 480 consists of legal conclusions to which no answer is

         required. To the extent that an answer is required, the United States

         denies those allegations.


                                           79
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 80 of 99 PageID.12591



     481. The United States denies that federal officers breached the duty to

         exercise reasonable care, except as set forth in the Joint Stipulation or as

         specifically admitted below in response to the subparts of Paragraph 481.

         The United States responds to the subparts of Paragraph 481 as follows:

           a. Admitted.

           b. The United States denies the allegations in subpart (b) of

               Paragraph 481 because it lacks sufficient information to discern

               which “mandatory corrective actions” are being referenced.

           c. The United States admits that the Navy did not issue a SDWA

               Tier I notice after the fuel release in November 2021. The United

               States otherwise denies the allegations in subpart (c) of

               Paragraph 481.

           d. Admitted.

           e. Denied.

           f. Admitted.

           g. Denied.

           h. Denied.

           i. Denied.

           j. Denied.

           k. Denied.


                                            80
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 81 of 99 PageID.12592



           l. Denied.

     482. Admitted.

     483. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 483 pertaining to the nature and extent of

         Plaintiffs’ purported injuries and therefore denies those allegations.

     484. Paragraph 484 consists of legal conclusions to which no answer is

         required. To the extent that an answer is required, the United States

         denies those allegations.

     485. Paragraph 485 consists of legal conclusions to which no answer is

         required. To the extent that an answer is required, the United States

         denies those allegations.

     486. Paragraph 486 merely incorporates all preceding paragraphs of the

         Fifth Amended Complaint and contains no additional allegations to

         which an answer is required. To the extent that an answer is required,

         the United States incorporates all of its responses to the preceding

         paragraphs of the Fifth Amended Complaint.

     487. The United States admits that, in November 2021, at least some

         Plaintiffs lawfully possessed properties serviced by the JBPHH public

         water system.




                                           81
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 82 of 99 PageID.12593



     488. The United States admits that, during the time period described in the

         Fifth Amended Complaint, the Navy owned and operated Red Hill and

         the Red Hill Shaft, one of three groundwater wells that supplied the

         JBPHH public water system until the Navy shut off the Red Hill Shaft

         on November 28, 2021.

     489. The United States admits the allegations in Paragraph 489 to the

         extent set forth in the Joint Stipulation but otherwise denies them.

     490. The United States admits the allegations in Paragraph 490 to the

         extent set forth in the Joint Stipulation but otherwise denies them.

     491. The United States admits the allegations in Paragraph 491 to the

         extent set forth in the Joint Stipulation but otherwise denies them.

     492. Admitted.

     493. The United States admits the allegations in Paragraph 493 to the

         extent set forth in the Joint Stipulation but otherwise denies them.

     494. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 494 pertaining to the nature and extent of

         Plaintiffs’ purported injuries and therefore denies those allegations.

     495. The United States denies the allegations in Paragraph 495 because it

         lacks sufficient information to discern what type of “full knowledge” is

         being referenced.


                                           82
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 83 of 99 PageID.12594



     496.   The United States admits the allegations in Paragraph 496 to the

         extent set forth in the Joint Stipulation but otherwise denies them.

     497. Denied.

     498. The United States admits the allegations in Paragraph 498 to the

         extent set forth in the Joint Stipulation but otherwise denies them.

     499. Paragraph 499 consists of legal conclusions to which no answer is

         required. To the extent that an answer is required, the United States

         denies those allegations.

     500. Paragraph 500 merely incorporates all preceding paragraphs of the

         Fifth Amended Complaint and contains no additional allegations to

         which an answer is required. To the extent that an answer is required,

         the United States incorporates all of its responses to the preceding

         paragraphs of the Fifth Amended Complaint.

     501. The United States admits that, based on Plaintiffs’ representations and

         pleadings, the only individuals who are bringing medical negligence

         claims in this case are those named in Paragraph 501.

     502. The United States admits that, based on Plaintiffs’ representations and

         pleadings, the only individuals who are bringing medical negligence

         claims in this case are those named in Paragraph 502.

     503. Denied.


                                           83
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 84 of 99 PageID.12595



     504. Denied.

     505. Denied.

     506. Denied.

     507. Denied.

     508. Denied.

     509. Denied.

     510. Denied.

     511. Paragraph 511 merely incorporates all preceding paragraphs of the

         Fifth Amended Complaint and contains no additional allegations to

         which an answer is required. To the extent that an answer is required,

         the United States incorporates all of its responses to the preceding

         paragraphs of the Fifth Amended Complaint.

     512. The United States admits the allegations in Paragraph 512 to the

         extent set forth in the Joint Stipulation but otherwise denies them.

     513. The United States admits that the Navy was aware of prior fuel

         releases at Red Hill. The United States further admits that the Navy

         agreed to take certain corrective actions to prevent or mitigate future fuel

         releases. The United States denies the remaining allegations in

         Paragraph 513.




                                           84
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 85 of 99 PageID.12596



     514. Paragraph 514 consists of legal conclusions to which no answer is

         required. To the extent that an answer is required, the United States

         denies the allegations in Paragraph 514.

     515. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 515 and therefore denies them.

     516. Paragraph 516 consists of legal conclusions to which no answer is

         required. To the extent that an answer is required, the United States

         denies those allegations.

     517. Paragraph 517 consists of legal conclusions to which no answer is

         required. To the extent that an answer is required, the United States

         denies those allegations.

     518. Paragraph 518 contains no substantive allegations to which an answer

         is required. To the extent that an answer is required, the United States

         admits that Plaintiffs have removed the allegations formerly contained in

         Paragraph 518 of their Fourth Amended Complaint, consistent with the

         Parties’ Joint Stipulation as to the Fifth Amended Complaint, Its Impact

         on Pending Motion to Dismiss Briefing, and Clarification of the

         Bellwether Plaintiffs’ Damages Claims. See ECF No. 201.

     519. Paragraph 519 contains no substantive allegations to which an answer

         is required. To the extent that an answer is required, the United States


                                           85
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 86 of 99 PageID.12597



         admits that Plaintiffs have removed the allegations formerly contained in

         Paragraph 519 of their Fourth Amended Complaint, consistent with the

         Parties’ Joint Stipulation as to the Fifth Amended Complaint, Its Impact

         on Pending Motion to Dismiss Briefing, and Clarification of the

         Bellwether Plaintiffs’ Damages Claims. See ECF No. 201.

     520. Paragraph 520 contains no substantive allegations to which an answer

         is required. To the extent that an answer is required, the United States

         admits that Plaintiffs have removed the allegations formerly contained in

         Paragraph 520 of their Fourth Amended Complaint, consistent with the

         Parties’ Joint Stipulation as to the Fifth Amended Complaint, Its Impact

         on Pending Motion to Dismiss Briefing, and Clarification of the

         Bellwether Plaintiffs’ Damages Claims. See ECF No. 201.

     521. Paragraph 521 contains no substantive allegations to which an answer

         is required. To the extent that an answer is required, the United States

         admits that Plaintiffs have removed the allegations formerly contained in

         Paragraph 521 of their Fourth Amended Complaint, consistent with the

         Parties’ Joint Stipulation as to the Fifth Amended Complaint, Its Impact

         on Pending Motion to Dismiss Briefing, and Clarification of the

         Bellwether Plaintiffs’ Damages Claims. See ECF No. 201.




                                           86
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 87 of 99 PageID.12598



     522. Paragraph 522 contains no substantive allegations to which an answer

         is required. To the extent that an answer is required, the United States

         admits that Plaintiffs have removed the allegations formerly contained in

         Paragraph 522 of their Fourth Amended Complaint, consistent with the

         Parties’ Joint Stipulation as to the Fifth Amended Complaint, Its Impact

         on Pending Motion to Dismiss Briefing, and Clarification of the

         Bellwether Plaintiffs’ Damages Claims. See ECF No. 201.

     523. Paragraph 523 contains no substantive allegations to which an answer

         is required. To the extent that an answer is required, the United States

         admits that Plaintiffs have removed the allegations formerly contained in

         Paragraph 523 of their Fourth Amended Complaint, consistent with the

         Parties’ Joint Stipulation as to the Fifth Amended Complaint, Its Impact

         on Pending Motion to Dismiss Briefing, and Clarification of the

         Bellwether Plaintiffs’ Damages Claims. See ECF No. 201.

     524. Paragraph 524 contains no substantive allegations to which an answer

         is required. To the extent that an answer is required, the United States

         admits that Plaintiffs have removed the allegations formerly contained in

         Paragraph 524 of their Fourth Amended Complaint, consistent with the

         Parties’ Joint Stipulation as to the Fifth Amended Complaint, Its Impact




                                           87
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 88 of 99 PageID.12599



         on Pending Motion to Dismiss Briefing, and Clarification of the

         Bellwether Plaintiffs’ Damages Claims. See ECF No. 201.

     525. Paragraph 525 contains no substantive allegations to which an answer

         is required. To the extent that an answer is required, the United States

         admits that Plaintiffs have removed the allegations formerly contained in

         Paragraph 525 of their Fourth Amended Complaint, consistent with the

         Parties’ Joint Stipulation as to the Fifth Amended Complaint, Its Impact

         on Pending Motion to Dismiss Briefing, and Clarification of the

         Bellwether Plaintiffs’ Damages Claims. See ECF No. 201.

     526. Paragraph 526 contains no substantive allegations to which an answer

         is required. To the extent that an answer is required, the United States

         admits that Plaintiffs have removed the allegations formerly contained in

         Paragraph 526 of their Fourth Amended Complaint, consistent with the

         Parties’ Joint Stipulation as to the Fifth Amended Complaint, Its Impact

         on Pending Motion to Dismiss Briefing, and Clarification of the

         Bellwether Plaintiffs’ Damages Claims. See ECF No. 201.

     527. Paragraph 527 contains no substantive allegations to which an answer

         is required. To the extent that an answer is required, the United States

         admits that Plaintiffs have removed the allegations formerly contained in

         Paragraph 527 of their Fourth Amended Complaint, consistent with the


                                           88
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 89 of 99 PageID.12600



         Parties’ Joint Stipulation as to the Fifth Amended Complaint, Its Impact

         on Pending Motion to Dismiss Briefing, and Clarification of the

         Bellwether Plaintiffs’ Damages Claims. See ECF No. 201.

     528. Paragraph 528 contains no substantive allegations to which an answer

         is required. To the extent that an answer is required, the United States

         admits that Plaintiffs have removed the allegations formerly contained in

         Paragraph 528 of their Fourth Amended Complaint, consistent with the

         Parties’ Joint Stipulation as to the Fifth Amended Complaint, Its Impact

         on Pending Motion to Dismiss Briefing, and Clarification of the

         Bellwether Plaintiffs’ Damages Claims. See ECF No. 201.

     529. Paragraph 529 merely incorporates all preceding paragraphs of the

         Fifth Amended Complaint and contains no additional allegations to

         which an answer is required. To the extent that an answer is required,

         the United States incorporates all of its responses to the preceding

         paragraphs of the Fifth Amended Complaint.

     530. The United States admits that the Navy owns Red Hill and the JBPHH

         public water system. The United States further admits that the Navy is a

         minority member of Ohana Military Communities, LLC, but otherwise

         denies that it owns, occupies, or possesses JBPHH military housing.

         The remaining allegations in Paragraph 530 are legal conclusions to


                                           89
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 90 of 99 PageID.12601



         which no answer is required. To the extent that an answer is required,

         the United States denies those allegations.

     531. The United States admits that the cited judicial ruling contains the

         language quoted in Paragraph 531. To the extent that Paragraph 531

         contains allegations about the legal application of that language to this

         case, the United States denies those allegations.

     532. The United States admits that, in some circumstances, it assumes the

         duties of reasonable care applicable to owners, occupiers, and possessors

         of land.

     533. The United States admits the allegations in Paragraph 533 to the

         extent set forth in the Joint Stipulation but otherwise denies them.

     534. Denied.

     535. The United States admits the allegations in Paragraph 535 to the

         extent set forth in the Joint Stipulation but otherwise denies them.

     536. The United States admits that the cited judicial ruling contains the

         language quoted in Paragraph 536. To the extent that Paragraph 536

         contains allegations about the legal application of that language to this

         case, the United States denies those allegations.

     537. The United States admits the allegations in Paragraph 537 to the

         extent set forth in the Joint Stipulation but otherwise denies them.


                                           90
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 91 of 99 PageID.12602



     538. Denied.

     539. The United States admits the allegations in Paragraph 539 to the

         extent set forth in the Joint Stipulation but otherwise denies them.

     540. The United States admits that, during the time period described in the

         Fifth Amended Complaint, the Navy controlled Red Hill and the JBPHH

         public water system. The United States denies the remaining allegations

         in Paragraph 540.

     541. The United States admits the allegations in Paragraph 541 to the

         extent set forth in the Joint Stipulation but otherwise denies them.

     542. Denied.

     543. Admitted.

     544. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 544 pertaining to the nature and extent of

         Plaintiffs’ purported injuries and therefore denies those allegations.

     545. Paragraph 545 consists of legal conclusions to which no answer is

         required. To the extent that an answer is required, the United States

         denies those allegations.

     546. Paragraph 546 consists of legal conclusions to which no answer is

         required. To the extent that an answer is required, the United States

         denies those allegations.


                                           91
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 92 of 99 PageID.12603



     547. Paragraph 547 consists of legal conclusions to which no answer is

         required. To the extent that an answer is required, the United States

         denies those allegations.

     548. Paragraph 548 consists of legal conclusions to which no answer is

         required. To the extent that an answer is required, the United States

         denies those allegations.

     549. The United States admits the allegations in Paragraph 549 to the

         extent set forth in the Joint Stipulation but otherwise denies them.

     550. The United States admits that, as a general matter, ingestion of jet fuel

         or its constituent chemicals can be harmful to human health, depending

         on numerous factors including dose, duration of exposure, and nature of

         exposure. The United States further admits that the final sentence of

         Paragraph 550 lists examples of potential exposure pathways.

     551. The United States admits that, as a general matter, ingestion of jet fuel

         or its constituent chemicals can be harmful to human health, depending

         on numerous factors including dose, duration of exposure, and nature of

         exposure. 5



     5
             Regarding Footnote 10, the United States admits that the United States
     Department of Veterans Affairs (“VA”) has established “a presumption of service
     connection for certain diseases associated with contaminants found in the early 1980’s at
     Camp Lejeune.” The United States further admits that, to be eligible for the presumption,
     a veteran must meet various criteria set by the VA.
                                                92
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 93 of 99 PageID.12604



     552. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 552 and therefore denies them.

     553. Denied.

     554. Denied.

     555. Denied.

     556. Denied.

     557. Denied.

     558. Denied.

     559. The United States admits that Plaintiffs have invoked the FTCA as the

         basis for their claims. The United States denies that the Court has

         subject-matter jurisdiction over all of Plaintiffs’ claims.

     560. Admitted.

     561. Admitted.

     562. Admitted.

     563. The United States admits that Plaintiffs have invoked the FTCA as the

         basis for their claims. The remaining allegations in Paragraph 563 are

         legal conclusions to which no answer is required. To the extent that an

         answer is required, the United States admits those allegations to the

         extent set forth in the Joint Stipulation but otherwise denies them.




                                            93
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 94 of 99 PageID.12605



     564. The United States denies that the Court has subject-matter jurisdiction

         over all of Plaintiffs’ claims.

     565. The United States admits the allegations in Paragraph 565, except to

         the extent that government contractors also worked at the Red Hill.

     566. Admitted.

     567. Admitted.

     568. Admitted.

     569. Admitted.

     570. Admitted.

     571. Admitted.

     572. Admitted.

     573. Admitted.

     574. Admitted.

     575. Admitted.

     576. The United States lacks sufficient information to admit or deny the

         allegations in Paragraph 576 and therefore denies them.




                                           94
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 95 of 99 PageID.12606



                                   GENERAL DENIAL

           The United States hereby generally denies each and every allegation

     contained in the Fifth Amended Complaint, except as expressly admitted

     above.

                               JURISDICTIONAL ISSUES

           Plaintiffs’ claims are barred, either in whole or in part, by principles

     of federal sovereign immunity, including but not limited to those described

     below:

        a. The FTCA’s discretionary-function exception preserves the United

           States’ sovereign immunity with respect to some or all of the

           government conduct alleged in the Fifth Amended Complaint. 28

           U.S.C. § 2680(a).

        b. The FTCA’s misrepresentation exception preserves the United States’

           sovereign immunity with respect to some or all of the government

           conduct alleged in the Fifth Amended Complaint. 28 U.S.C. §

           2680(h).

        c. The FTCA does not provide subject-matter jurisdiction insofar as

           Plaintiffs’ claims are based upon conduct for which there is no

           analogous private liability under the applicable law of the place where

           the conduct occurred. 28 U.S.C. §§ 1346(b), 2674.


                                           95
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 96 of 99 PageID.12607



                                AFFIRMATIVE DEFENSES

           The United States raises the following affirmative defenses in

     response to the claims in the Fifth Amended Complaint:

                                      FIRST DEFENSE

           Plaintiffs have failed to state a claim upon which relief can be granted.

                                    SECOND DEFENSE

           Plaintiffs’ alleged injuries were not proximately caused by negligent

     acts or omissions of the United States, its employees, or its agents.

                                     THIRD DEFENSE

           Plaintiffs’ recovery is subject to the limit on damages for pain and

     suffering imposed by HRS § 663-8.7 (2008).

                                    FOURTH DEFENSE

           Plaintiffs’ recovery is limited to the amount of their administrative

     claims.

                                      FIFTH DEFENSE

           Plaintiffs’ recovery must be offset by any medical care or other

     benefits that the United States has provided, or will provide, to Plaintiffs as a

     result of the subject matter of this action.




                                             96
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 97 of 99 PageID.12608



                                    SIXTH DEFENSE

           Plaintiffs’ recover must be offset to the extent that they failed to take

     reasonable opportunities to mitigate their alleged damages.

                                   SEVENTH DEFENSE

           Plaintiffs cannot recover prejudgment interest from the United States

     under the FTCA.

                                    EIGHTH DEFENSE

           Plaintiffs cannot recover punitive damages against the United States

     under the FTCA.

                                    NINTH DEFENSE

           Plaintiffs cannot obtain equitable relief under the FTCA.

                                    TENTH DEFENSE

           Plaintiffs cannot recover any separate amount for attorney’s fees. Any

     attorney’s fees must be paid out of any judgment awarded.

                                  ELEVENTH DEFENSE

           The United States reserves the right to assert additional affirmative

     defenses as their applicability is discovered throughout this case.




                                           97
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 98 of 99 PageID.12609



     Dated: January 25, 2024      Respectfully submitted,

                                  J. PATRICK GLYNN
                                  Director
                                  CHRISTINA FALK
                                  Assistant Director

                                  /s/Kenneth Haywood
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                                       98
Case 1:22-cv-00397-LEK-KJM Document 256 Filed 01/25/24 Page 99 of 99 PageID.12610



                           CERTIFICATE OF SERVICE

        I certify that, on January 25, 2024, Defendant United States of America’s

  Answer to the Fifth Amended Complaint was served electronically on all counsel

  of record in this matter through the Court’s CM/ECF.


  Dated:      January 25, 2024          /s/ Kenneth Haywood
                                        KENNETH HAYWOOD
